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  November 22, 2019

  Hon. Leda Dunn Wettre, U.S.M.J.
  U.S. District Court
  M. L. King, Jr. Federal Building & Courthouse
  50 Walnut St., Room 2A
  Newark, NJ 07102

                        Re:    Roofer’s Pension Fund v. Papa, et al
                               Case No. 2:16-cv-2805 (MCA)(LDW)

  Dear Judge Wettre:

          This firm, together with Fried, Frank, Harris, Shriver & Jacobson LLP, represents
  Defendant Perrigo Company plc (“Perrigo”) in the above-captioned class action and the
  Individual Actions.1 We write on behalf of all defendants (Perrigo, Judy Brown, and Joseph
  Papa, collectively “Defendants”), in accordance with the Court’s October 16, 2019 Order (ECF
  220), to provide Perrigo’s position on the extension of the limited stay of discovery requested by
  the United States (ECF 229); to provide the Court with an update regarding discovery in the
  above-captioned class action and the Individual Actions; and to respond to the issues outlined in
  Lead Plaintiff’s October 23, 2019 Letter (ECF 221) (“Lead Plaintiff’s Letter”).


  1 The “Individual Actions” are: Carmignac Gestion, S.A. v. Perrigo Co. plc et al., No. 2:17-cv-10467
  (D.N.J.); Manning & Napier Advisors, LLC v. Perrigo Co. plc et al., No. 2:18-cv-00674 (D.N.J.); Mason
  Capital L.P. et al. v. Perrigo Co. plc et al., No. 2:18-cv-01119 (D.N.J.); Pentwater Equity Opportunities
  Master Fund Ltd. et al. v. Perrigo Co. plc et al., No. 2:18-cv-01121 (D.N.J.); Harel Insurance Company,
  Ltd. et al. v. Perrigo Co. plc et al., No. 2:18-cv-02074 (D.N.J.); First Manhattan Co. v. Perrigo Co. plc et
  al., No. 2:18-cv-02291 (D.N.J.); TIAA-CREF Investment Management, LLC et al. v. Perrigo Co. plc et
  al., No. 2:18-cv-08175 (D.N.J.); Nationwide Mutual Funds et al. v. Perrigo Co. plc et al., No. 2:18-cv-
  15382 (D.N.J.); WCM Alternatives: Event-Driven Fund et al. v. Perrigo Co. plc et al., No. 2:18-cv-16204
  (D.N.J.); Hudson Bay Master Fund Ltd. et al. v. Perrigo Co. plc et al., No. 2:18-cv-16206 (D.N.J.);
  Schwab Capital Trust et al. v. Perrigo Co. plc et al., No. 2:19-cv-03973 (D.N.J.); and Aberdeen Canada
  Funds-Global Equity Fund et al. v. Perrigo Co. plc et al., No. 2:19-cv-06560 (D.N.J.). Plaintiffs in the
  Individual Actions together with the Lead Plaintiff are referred to as “Plaintiffs.”
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      I.      The Department of Justice’s Request for Extension of the Limited Stay of
              Discovery

         As the Department of Justice noted in its letter dated November 15, 2019 (ECF 229),
  Perrigo takes no position on the request by the United States for an extension of the limited stay
  of discovery relating to the pricing, sale, and marketing of Perrigo’s domestic generic
  pharmaceuticals, originally granted October 16, 2019 (ECF 220). Defendants only request that, if
  the Court grants the United States’ request for an extension of the stay, the current discovery
  schedule, as ordered by the Court on June 27, 2019 (ECF 207), be extended.

          Although Defendants take no position on the United States’ request, Perrigo does want to
  bring to the Court’s attention certain orders in a multidistrict litigation in the United States
  District Court for the Eastern District of Pennsylvania in which Perrigo is a named defendant in
  some of the lawsuits. In re Generic Pharm. Pricing Antitrust Litig., 2:16-md-02724-CMR (E.D.
  Pa. transferred Aug. 5, 2016). In that case, which involves similar claims relating to the pricing,
  sale, and marketing of Perrigo’s domestic generic pharmaceuticals, the United States requested
  and the court ordered an extension of a preexisting stay of fact depositions until March 15, 2020.
  See id., Pretrial Order No. 108, ECF 1152; Pretrial Order No. 105 (Case Management Order and
  Discovery Schedule), ECF 1135; Pretrial Order No. 96, ECF 1046. 2 If a stay is not extended in
  the above-captioned class action and the Individual Actions, Perrigo may have inconsistent
  discovery obligations due to differing orders from this Court and from the Eastern District of
  Pennsylvania. See ECF 229 at 2–3.

          Under the current discovery schedule, fact discovery closes in the above-captioned class
  action on December 16, 2019 and in the Individual Actions on February 15, 2020. (ECF 207 at
  1). If the Court grants the United States’ request, no depositions on the pricing, sale, and
  marketing of Perrigo’s domestic generic pharmaceutical witnesses could occur until after March
  15, 2020. Realistically, the parties would need at a minimum of two months to notice and
  complete these depositions—assuming former Perrigo employees are ready and able to appear
  for depositions—which would push out fact discovery until at least May 15, 2020. Defendants’
  position is thus that if the Court grants the extension of the stay requested by the United States,
  then the Court should concurrently order an extension of the discovery period to May 15, 2020 in
  the above-captioned class action and to July 15, 2020 in the Individual Actions.

          Any objection by Lead Plaintiff to an extension of the fact discovery period is
  inconsistent with Lead Plaintiff’s previous reliance upon the federal antitrust investigation. In
  seeking to defeat the motion to dismiss, Lead Plaintiff relied upon the existence of the antitrust
  investigation by the Department of Justice, which this Court noted as part of its rationale for
  denying dismissal of those allegations. Roofers’ Pension Fund v. Perrigo Company plc, et al.,
  No. 2:16-CV-2805-MCA-LDW, 2018 WL 3601229, at *22 (D.N.J. July 27, 2018) (considering

  2 If the Court so desires, Perrigo can provide the Court with copies of these Orders.
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  the “existence of a parallel criminal investigation” as contributing to the inference of scienter at
  the motion to dismiss stage). Having taken those steps to rely upon and benefit from the
  existence of the government investigation, the Court should ignore any contention by the
  Plaintiffs that the government investigation is taking too long.

     II.     Discovery Status

          As of November 22, 2019, Lead Plaintiff, along with plaintiffs in the Individual Actions,
  has taken 11 depositions over 14 days (over approximately 72 hours), including one deposition
  of Perrigo taken pursuant to Fed. R. Civ. P. 30(b)(6). Perrigo has produced to Plaintiffs in excess
  of 2.4 million pages of material (more than 383,000 documents) in response to Lead Plaintiff’s
  requests for production. Perrigo also has answered 22 interrogatories propounded by plaintiffs in
  the above-captioned class action and Individual Actions. Perrigo also has produced a privilege
  log summarizing the privileged content in any redacted or withheld documents. Perrigo is
  currently in the process of reviewing additional documents in response to recent requests for
  production made in some of the Individual Actions and plans to begin rolling productions of
  responsive documents in early December. Further, twelve non-parties have produced in excess of
  290,000 pages of material (in excess of 5,000 documents) in this action, all in response to
  subpoenas served by Lead Plaintiff.

         In response to defendants’ document requests, Lead Plaintiff produced, on February 23,
  2019, 862 pages of material (273 documents), the vast majority of which were in a foreign
  language. Lead Plaintiff has not produced a privilege log.

     III.    Response to Plaintiff’s October 23, 2019 Letter (ECF 221)

         In its October 23, 2019 Letter (ECF 221), Lead Plaintiff raised three issues it intends to
  address with the Court at the November 25, 2019 conference.

             A. Completion of fact discovery

          As addressed above in Part I, Defendants request that, if the Court grants the United
  States’ request for an extension of the stay, the current discovery schedule be concurrently
  extended. If the Court does not grant the United States’ request for an extension of the stay,
  Defendants request that the Court order an extension of the discovery period to March 15, 2020
  in the above-captioned class action and to May 15, 2020 in the Individual Actions. This would
  provide the parties time to complete fact discovery that had been previously stayed.

             B. Pre-trial schedule

         Given the United States’ pending request, Defendants do not believe that the parties are
  well-positioned to discuss deadlines for expert discovery, dispositive motions, motions in limine,
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  and other pre-trial proceedings. If the Court is inclined to set certain deadlines at this time,
  Defendants propose the following in the above-captioned class action:3

         Using as a model the discovery template this Court adopted for the class certification
  motion, Defendants would propose the following expert schedule:

          •   Lead Plaintiff’s expert reports shall be served no later than 45 days after the close of
              fact discovery and depositions of Lead Plaintiff’s experts shall be completed within
              30 days thereafter;

          •   Defendants’ expert reports shall be served no later than 115 days after the close of
              fact discovery and depositions of defendants’ experts shall be completed within 30
              days thereafter; and

          •   Reply expert report(s), if any, shall be served 190 days after the close of fact
              discovery and depositions of reply experts shall be completed within 30 days
              thereafter.

          Defendants will be prepared to discuss deadlines for dispositive motions, motions in
  limine, and other pre-trial proceedings at the conference.

              C. 30(b)(6) depositions

          On June 28, 2019, counsel for Lead Plaintiff emailed Defendants seeking to schedule
  seven depositions, including a Rule 30(b)(6) deposition of Perrigo. Lead Plaintiff did not
  formally notice a deposition under Rule 30(b)(6), as required, but instead attached a three-page
  PDF informally listing 23 potential Rule 30(b)(6) topics. Because Lead Plaintiff did not serve a
  formal subpoena, Perrigo did not serve responses or objections. Perrigo instead began initial
  efforts to identify appropriate designees and potential dates, and informed Lead Plaintiff that
  these efforts were underway.

          In the meantime, Perrigo continued to cooperate with Plaintiffs’ many discovery requests.
  Between August and November, Plaintiffs requested Rule 30(b)(1) depositions of 13 specific
  current or former employees of Perrigo and as of today they have taken the depositions of ten of




  3 Deadlines in the Individual Actions would continue to be governed by the Court’s November 26, 2018
  Order, which provides that certain deadlines relating to expert discovery in the Individual Actions occur
  60 days after the expert discovery deadlines in the above-captioned class action. See, e.g., ECF 43,
  Carmignac Gestion, S.A., 2:17-CV-10467-MCA-LDW.
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  those witnesses.4 While focused on these fact depositions, Perrigo continued its efforts to
  identify appropriate designees for a potential Rule 30(b)(6) deposition. Given that Plaintiffs had
  not served a formal notice, and Perrigo thus had not responded or objected, Perrigo did not
  propose to negotiate with Plaintiffs over the scope of the informally identified topics.

          On November 4, 2019 Lead Plaintiff finally served a formal notice for a Rule 30(b)(6)
  deposition of Perrigo on five of the 23 topics it had previously identified informally. Appended
  to the November 4 notice was a list of 18 additional topics that were not designated for
  deposition at that date and time. Perrigo designated a witness for the five topics, and Plaintiffs
  deposed her on November 14, 2019. On November 18, 2019, counsel for Lead Plaintiff and
  counsel for defendants met and conferred on certain remaining 30(b)(6) topics. (Because of the
  existence of the stay previously granted to the United States (ECF 220 ¶ 4), the parties agreed not
  to discuss the topics related to the previously stayed issues). The discussions were constructive
  and, while Perrigo expressly has not waived any rights with regard to its objections to Lead
  Plaintiff’s 30(b)(6) topics, Perrigo is now in a better position to prepare corporate designees on at
  least some of the remaining topics.

         After failing to serve a Rule 30(b)(6) notice for months, Lead Plaintiffs have no cause to
  complain now. Plaintiffs’ informal list of potential topics sent on June 28 did not trigger any
  requirements under Rule 30. Perrigo nonetheless began searching for corporate designees and
  potential dates, while awaiting a formal notice. Perrigo identified a corporate designee for Topics
  1-5 even before Lead Plaintiff had served any formal Rule 30(b)(6) notice, and, as noted, that
  corporate designee’s deposition occurred on November 14, 2019.

          Plaintiffs’ primary complaint appears to be that they wanted to take a Rule 30(b)(6)
  deposition of Perrigo prior to taking depositions of other witnesses. But Plaintiffs have no right
  to insist that depositions take place in a particular order, particularly where they have failed to
  formally notice the deposition in the first place. As is common practice, counsel for Perrigo
  consulted with proposed individual deponents and found dates and locations that would be
  consistent with that deponent’s schedule and then provided those dates to Plaintiffs. The
  depositions of 30(b)(6) designees require significant preparation and consequently are
  particularly difficult to schedule. Indeed, the scope and breadth of Lead Plaintiff’s 30(b)(6)
  topics indicate that Lead Plaintiff seeks to use the Rule 30(b)(6) process to impose significant,



  4 Of the three pending deposition requests, one employee is unable to be deposed at this time due to a
  medical condition. The deposition of a second, former employee was initially scheduled for late
  September, then rescheduled at the request of Plaintiffs’ counsel for a date in late October, and then
  postponed again at the request of Plaintiffs’ counsel. Finally, following a request by certain plaintiffs in
  the Individual Actions to delay the deposition of the third individual who has not yet been deposed,
  Plaintiffs have now agreed with one another that this deposition should be held in January and the parties
  are coordinating to reschedule.
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  burdensome obligations on Perrigo, including by requesting that defendants prepare witnesses
  for what are, in essence, contention interrogatories disguised as Rule 30(b)(6) depositions.

          Another common practice in deposition scheduling is that defendant parties should be
  deposed at or near the end of the fact discovery period—after most or all of the deponents who
  are not burdened with a risk of potential liability have been deposed. The practice applies just as
  much to corporate defendants as to individuals. The types of 30(b)(6) topics that Lead Plaintiff
  has identified highlight the wisdom of recognizing that depositions of defendants (even corporate
  defendants) should not occur until the end of the discovery period.

         We have provided the Court (under seal) the Lead Plaintiff’s list of 30(b)(6) topics to
  demonstrate their overbreadth and why any 30(b)(6) deposition on a number of these topics
  should occur at or near the end of the fact discovery period.

          Rule 30(b)(6) has been exploited by requesting parties to make compliance by the
  corporate deponents exceedingly difficult, burdensome, and frustrating. See Craig M. Roen et al.,
  Don’t Forget to Remember Everything: The Trouble with Rule 30(b)(6) Depositions, 45 U. TOL.
  L. REV. 29 (2013) (copy attached) (describing how the accretion of case law has led to increasing
  difficulties and motion practice regarding 30(b)(6) depositions). These practices include seeking
  testimony about the collection of information used to educate the witness which impinges on
  attorney work product. When Rule 30(b)(6) was adopted, the Rule was intended to “assist
  organizations which find that an unnecessarily large number of their officers and agents are
  being deposed by a party uncertain of who in the organization has knowledge.” Fed. R. Civ. P.
  30 advisory committee’s notes to 1970 amendment (subsection (b)(6)). In large complex cases
  like this one, however, often this is not how Rule 30(b)(6) is being employed. Instead, the parties
  propounding the requests seek information that “may reside with dozens of present and former
  employees, contained in thousands of documents created over many years, located in multiple
  locations” and that, therefore, “is often well beyond a mere mortal’s ability to learn, retain and
  recount with perfect accuracy in both scope and detail.” Roen, 45 U. TOL. L. REV. 29 at 29, 31.

           Many of Lead Plaintiff’s proposed 30(b)(6) topics exemplify this kind of overreach, for
  example topics 14, 17, 18. For these reasons, as some courts have observed, what is sought
  through a 30(b)(6) deposition may be more appropriate for other forms of discovery, including
  contention interrogatories. E.g., McCormick-Morgan, Inc. v. Teledyne Indus., Inc., 134 F.R.D.
  275, 286 (N.D. Cal.), rev’d on other grounds, 765 F. Supp. 611 (N.D. Cal. 1991). In light of
  these issues, Defendants believe it is appropriate to consider if there are alternative practices that
  might alleviate some of the considerable burden presented by Lead Plaintiff’s Rule 30(b)(6)
  proposed topics. Defendants are not wedded to any particular solution mentioned in the attached
  article, but Defendants do perceive that the issues discussed therein will arise if the Rule 30(b)(6)
  depositions proceed in the manner apparently sought by Plaintiffs in this case.

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          Defendants appreciate the opportunity to discuss these issues with the Court at the
  conference on Monday, November 25, 2019 at 10 a.m. in Newark. Defendants reserve all rights
  to offer additional information to the Court in response to any other contentions made by
  Plaintiffs in any letters they choose to submit on November 22, 2019 in advance of the
  conference.

                                                   Very truly yours,

                                                   /s/ Alan S. Naar

                                                   Alan S. Naar

  Attachments (one under Seal)
  cc via ECF: Counsel for All Parties
